         Case 1:21-vv-00511-UNJ             Document 61          Filed 02/14/25        Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-0511V


    KELSEY GATES,

                          Petitioner,                        Chief Special Master Corcoran
    v.
                                                             Filed: January 10, 2025
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                          Respondent.


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Meghan Murphy, U.S. Department of Justice, Washington, DC, for Respondent.


                       DECISION ON ATTORNEY’S FEES AND COSTS1

      On January 11, 2021, Kelsey Gates filed a Petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”), alleging that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza vaccine administered to her on
October 9, 2019. Petition (ECF No. 1). On August 30, 2024, I issued a decision awarding
damages to Petitioner, based on Respondent’s proffer. ECF No. 51.

       Petitioner has now filed a motion for attorney’s fees and costs, requesting an award
of $28,721.75 (representing $27,716.50.00 for fees and $1,005.25 for costs). Petitioner’s


1Because this Decision contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or at
https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government Act of
2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet . In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter,
for ease of citation, all section references to the Vaccine Act will be to the pertinent subparagraph
of 42 U.S.C. § 300aa (2012).
       Case 1:21-vv-00511-UNJ           Document 61        Filed 02/14/25      Page 2 of 2




Application for Attorneys’ Fees, filed Nov. 6, 2024, ECF No. 56. In accordance with
General Order No. 9, counsel for Petitioner represents that Petitioner incurred no out-of-
pocket expenses. Id. ¶ 4.

        Respondent reacted to the motion on November 15, 2024, indicating that he is
satisfied that the statutory requirements for an award of attorney’s fees and costs are met
in this case, but deferring resolution of the amount to be awarded to my discretion.
Respondent’s Response to Motion at 2-3, 3 n.2, ECF No. 57. Petitioner has not filed a
reply.

      The rates requested for work performed through the end of 2024 are reasonable
and consistent with our prior determinations, and will therefore be adopted.

       I also note this case required additional briefing regarding the issue of entitlement,
specifically pain situs, onset, and severity. See Petitioner’s Motion for a Ruling on the
Record (“Motion”), filed Aug. 9, 2022, ECF No. 27; Petitioner’s Reply to Respondent’s
Response to Motion, Mar. 6, 2024, ECF No. 44. Petitioner’s counsel expended
approximately 12.5 hours drafting the motion and 9.5 hours drafting the reply, for a
combined total of 22.0 hours. ECF No. 56 at 9-10, 13. I find this time to have been
reasonably incurred. (And all time billed to the matter was also reasonably incurred.)

       Furthermore, Petitioner has provided supporting documentation for all claimed
costs, ECF No. 56 at 15-24. And Respondent offered no specific objection to the rates or
amounts sought. I have reviewed the requested costs and find them to be reasonable.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs for
successful claimants. Section 15(e). I award a total of $28,721.75 (representing
$27,716.50.00 for fees and $1,005.25 for costs) to be paid through an ACH deposit
to Petitioner’s counsel’s IOLTA account for prompt disbursement. In the absence of
a timely-filed motion for review (see Appendix B to the Rules of the Court), the Clerk of
Court shall enter judgment in accordance with this Decision.3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master

3 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 2
